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                     Hunter v. Ormond, et al., 08 C 7467
                                       Exhibit A


                   STATEMENT OF UNCONTESTED FACTS

   1.     Defendants, John Ormond, Michael Garza, Brian Hood, Jeffrey Mayer, and
          Genelle Michon, were employed as police officers by the Chicago Police
          Department and were acting under color of law at all relevant times.


   2.     Defendants stopped plaintiff, Lavel Hunter, on the 3800 block of W. Roosevelt
          Road, Chicago, Illinois, on December 14, 2007.


   3.     Defendants arrested plaintiff.


   4.     Defendants searched plaintiff.


   5.     Plaintiff was charged with possession of a controlled substance.


   6.     The charge of possession of a controlled substance was dismissed.


   7.     Plaintiff was incarcerated for 20 days. (Defendants dispute this).
